Case 1:07-cv-01080-LJO-GSA Document 323 Filed 03/10/10 Page 1 of 1

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IN THE UNITED STATES DISTRICT COURT

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FOR THE EASTERN DISTRICT OF CALIFORNIA |

ROGER McINTOSH, CASE NO. CV F 07-1080 LIO GSA
Plaintiff,

- FILED
NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES, MAR 10 2010
INC., LOTUS DEVELOPMENTS GLERK. Us. District ¢

, ; EASTE OURT
LP, THE CITY OF WASCO, AND ev Zh Nansen
DENNIS W. DeWALT, INC., ne
Defendants.
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NOTE FROM THE JURY

The jury has reached a unanimous verdict.

The jury requests the following :

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e jury has the following question(s):
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DATED: March 2010

PRESIDING JUROR.
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